                             OFFICE OF THE CLERK
                         UNITED STATES DISTRICT COURT
                            Northern District of California
                                         CIVIL MINUTES
 Date: May 3, 2019                  Time: 10:07 – 11:00 =            Judge: EDWARD M. CHEN
                                          53 Minutes

 Case No.: 17-md-02777-EMC Case Name: In re Chrysler-Dodge-Jeep EcoDiesel
                           Marketing


Attorneys for Plaintiff Steering Committee:
Elizabeth Cabraser, Rachel Jensen, Lynn Sarko, Stacy Slaughter, Lesley Weaver, Gayle Blatt for
Dave Casey, Archie Grubb II.
Attorneys for Defendants:
Fiat Chrysler: Robert Giuffra, Jr., Bosch: Matthew Slater.
Attorneys for Dept. of Justice:
Leigh Rende, Leslie Allen, Joseph Warren.
Attorneys for Attorney General for State of California:
Judith Fiorentini, Jon Worm, Nicklas Akers.


 Deputy Clerk: Angella Meuleman                          Court Reporter: Debra Pas

                                         PROCEEDINGS


Final Approval Hearing – Held.
                                            SUMMARY


Parties stated appearances.

For the reasons stated on the record, the Court certifies the class, grants final approval to the class
action settlement with the Private Plaintiffs, grants motions for attorneys fees and costs and service
awards. The Court also approves the U.S./California consent decree and the two California partial
consent decrees. The Court has reviewed all objections and comments and finds that none is a
basis on which to deny approval. Final orders are to be issued shortly hereafter.

With respect to persons or entities that opted out of the settlement with the Private Plaintiffs, the
case remains stayed. Defendants, however, are not barred from communicating with the opt-outs
to determine whether their disputes can be resolved.
A joint status conference statement shall be filed by August 1, 2019. In the statement, the parties
should address, inter alia, the status of the claims process and the status of the opt-outs.

A further status conference is set for September 6, 2019, at 10:00 a.m.

The parties are to immediately file with the Court the contact information for the opt-outs.
Where the opt-outs are represented by counsel, contact information for counsel is sufficient.
Defendants are ordered to serve a copy of this Clerk's Notice on the two law firms that
appear to represent the majority of the opt-outs and on each of the unrepresented opt-outs.
